          FIRST DISTRICT COURT OF APPEAL
                 STATE OF FLORIDA
                  _____________________________

                         No. 1D2024-0456
                  _____________________________

JERRY LEE DUPREE,

    Petitioner,

    v.

STATE OF FLORIDA,

    Respondent.
                  _____________________________


Petition Alleging Ineffective Assistance of Appellate Counsel—
Original Jurisdiction.


                          August 21, 2024

PER CURIAM.

     The Court grants the petition alleging ineffective assistance
of appellate counsel and authorizes a belated appeal from the
judgment and sentence in Walton County Circuit Court case
number 2021-CF-0101. A copy of this opinion shall be provided to
the clerk of the lower tribunal for treatment as the notice of appeal.
If Petitioner qualifies for appointed counsel, the trial court shall
appoint counsel to represent Petitioner on appeal.

B.L. THOMAS, RAY, and NORDBY, JJ., concur.
                 _____________________________

    Not final until disposition of any timely and
    authorized motion under Fla. R. App. P. 9.330 or
    9.331.
               _____________________________



Jerry Lee Dupree, pro se, Petitioner.

Ashley Moody, Attorney General, Tallahassee, for Respondent.




                                2
